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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                 Plaintiff,              )
                                         )                     8:05CR139
           vs.                           )
                                         )                     ORDER
DENNIS E. CAMPBELL,                      )
                                         )
                 Defendant.              )




      Before the court is Attorney Julie A. Frank’s Motion to Withdraw [49] as
counsel for the defendant. On September 22, 2005, Attorney Adam J. Sipple filed
an Entry of Appearance of Counsel [48]. For that reason, the Motion to Withdraw
[49] will be granted and Ms. Frank will be deemed withdrawn as attorney of
record.

     IT IS SO ORDERED.

     DATED this 23rd day of September, 2005.


                                         BY THE COURT:



                                         s/ F. A. Gossett
                                         U.S. Magistrate Judge
